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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 14-6766-PSG (FFMx)                                              Date    January 4, 2016
 Title             ANN FOX -VS- SPECTRUM CLUB HOLDING COMPANY




 Present: The Honorable           PHILIP S. GUTIERREZ
                      Wendy Hernandez                                           Marea Woolrich
                         Deputy Clerk                                            Court Reporter
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                        Todd Friedman                                           Martin Deniston
 Proceedings:             FINAL PRETRIAL CONFERENCE

The Court, having questioned counsel regarding the notice of settlement, dismisses the
case for failure to prosecute in a timely way.




                                                                                                      :     02

                                                               Initials of Preparer      wh




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